          Case 1:23-cr-00016-JEB          Document 69        Filed 01/30/25      Page 1 of 26




 United States District Court
 for the District of Columbia
 333 Constitution Ave N.W.                     Evidence Repository # 1:23−cr−00016−JEB−1
 Washington D.C. 20001


                                         Refusal for Cause



       COMES NOW, Frank Rocco of the GIUSTINO family and Redeemed. Demand is made for

redemption of central banking currency in Lawful Money in all transactions pursuant to Title 12 U.S.C.

§ 411 as amended from § 16 of the 1913 Federal Reserve Act.



       For the record, the attached signed deviant oaths of office are to be filed – refused for cause.



   1. Timothy J. KELLY
                                                                         Leave to File GRANTED
   2. Trevor N. MCFADDEN
                                                                                      1/30/25
   3. Jia M. COBB                                                        ___________________
                                                                         James E. Boasberg
   4. Ana C. REYES                                                       Chief Judge



       All above pretending “J6” federal “judges” signed oaths witnessed by Beryl A. HOWELL.




                                                                                           /s/ Frank Rocco

                                                                           ‘Justice’ has a name. Giustino.
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 2 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 3 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 4 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 5 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 6 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 7 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 8 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 9 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 10 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 11 of 26
      Case 1:23-cr-00016-JEB            Document 69           Filed 01/30/25                     Page 12 of 26



                                 Text of the Oaths of Office
                                for Supreme Court Justices
                              INFORMATION SHEET
Justices of the Supreme Court of the United States are required to take two oaths before they
may execute the duties of their appointed office.

The Constitutional Oath
As noted below in Article VI, all federal officials must take an oath in support of the
Constitution:

     “The Senators and Representatives before mentioned, and the Members of the several
     State Legislatures, and all executive and judicial Officers, both of the United States
     and of the several States, shall be bound by Oath or Affirmation, to support this
     Constitution; but no religious Test shall ever be required as a Qualification to any
     Office or public Trust under the United States.”

The Constitution does not provide the wording for this oath, leaving that to the determination of
Congress. From 1789 until 1861, this oath was, “I do solemnly swear (or affirm) that I will
support the Constitution of the United States.” During the 1860s, this oath was altered several
times before Congress settled on the text used today, which is set out at 5 U. S. C. § 3331. This
oath is now taken by all federal employees, other than the President:

     “I, _________, do solemnly swear (or affirm) that I will support and defend the
     Constitution of the United States against all enemies, foreign and domestic; that I will
     bear true faith and allegiance to the same; that I take this obligation freely, without
     any mental reservation or purpose of evasion; and that I will well and faithfully
     discharge the duties of the office on which I am about to enter. So help me God.”
                                                                                    Richard Hofmeister, Smithsonian Institution




                    Retiring Chief Justice Warren E. Burger (in robe) administers the
              Constitutional Oath to his successor, Associate Justice William H. Rehnquist,
              in the East Room of the White House. Mrs. Natalie Rehnquist holds the Bible
                                while President Ronald Reagan looks on.

                  Office of the Curator Supreme Court of the United States
                                            Updated: 8/10/2009
      Case 1:23-cr-00016-JEB                  Document 69               Filed 01/30/25              Page 13 of 26


The Judicial Oath
The origin of the second oath is found in the Judiciary Act of 1789, which reads “the justices of
the Supreme Court, and the district judges, before they proceed to execute the duties of their
respective offices” to take a second oath or affirmation. From 1789 to 1990, the original text
used for this oath (1 Stat. 76 § 8) was:

     “I, _________, do solemnly swear or affirm that I will administer justice without
     respect to persons, and do equal right to the poor and to the rich, and that I will
     faithfully and impartially discharge and perform all the duties incumbent upon me as
     _________, according to the best of my abilities and understanding, agreeably to the
     constitution and laws of the United States. So help me God.”

In December 1990, the Judicial Improvements Act of 1990 replaced the phrase “according to the
best of my abilities and understanding, agreeably to the Constitution” with “under the
Constitution.” The revised Judicial Oath, found at 28 U. S. C. § 453, reads:

     “I, _________, do solemnly swear (or affirm) that I will administer justice without
     respect to persons, and do equal right to the poor and to the rich, and that I will
     faithfully and impartially discharge and perform all the duties incumbent upon me as
     _________ under the Constitution and laws of the United States. So help me God.”

The Combined Oath
Upon occasion, appointees to the Supreme Court have taken a combined version of the two
oaths, which reads:

     “I, _________, do solemnly swear (or affirm) that I will administer justice without
     respect to persons, and do equal right to the poor and to the rich, and that I will
     faithfully and impartially discharge and perform all the duties incumbent upon me as
     _________ under the Constitution and laws of the United States; and that I will
     support and defend the Constitution of the United States against all enemies, foreign
     and domestic; that I will bear true faith and allegiance to the same; that I take this
     obligation freely, without any mental reservation or purpose of evasion; and that I
     will well and faithfully discharge the duties of the office on which I am about to
     enter. So help me God.”




                  Office of the Curator Supreme Court of the United States
             All photographs from the Collection of the Supreme Court of the United States unless otherwise noted.
         Case 1:23-cr-00016-JEB       Document 69      Filed 01/30/25    Page 14 of 26


      Below is a proper judicial oath for Justice REHNQUIST – as prescribed by law and Congress.

Compare to 28 U.S.C. § 453 before its 1990 amendment and to the September 1789 Judiciary Act:
         Case 1:23-cr-00016-JEB                Document 69           Filed 01/30/25         Page 15 of 26



    uscode.house.gov provides the statutory text as prescribed by Congress for the judicial oath:



Title 28 USC §453. Oaths of justices and judges

      Each justice or judge of the United States shall take the following oath or affirmation before
    performing the duties of his office: "I, ______ XXX, do solemnly swear (or affirm) that I will
    administer justice without respect to persons, and do equal right to the poor and to the rich, and
    that I will faithfully and impartially discharge and perform all the duties incumbent upon me as
    ______ under the Constitution and laws of the United States. So help me God."

    [The plain English of “So help me God” as the prescribed text by law is emphasized.]

    (June 25, 1948, ch. 646, 62 Stat. 907 ; Pub. L. 101–650,title IV, §404, Dec. 1, 1990, 104 Stat. 5124 .)

                                  HISTORICAL AND REVISION NOTES
      Based on title 28, U.S.C., 1940 ed., §§241, 372, and District of Columbia Code, 1940 ed.,
    §§11–203, 11–303 (R.S.D.C., §752, 18 Stat. pt. II, 90; Feb. 9, 1893, ch. 74, §3, 27 Stat.
    435 ; Mar. 3, 1901, ch. 854, §223, 31 Stat. 1224 ; Mar. 3, 1911, ch. 231, §§136, 137, 257, 36 Stat.
    1135 , 1161; Feb. 25, 1919, ch. 29, §4, 40 Stat. 1157 ).
      This section consolidates sections 11–203 and 11–303 of District of Columbia Code, 1940 ed.,
    and section 372 of title 28, U.S.C., 1940 ed., with that portion of section 241 of said title 28
    providing that judges of the Court of Claims shall take an oath of office. The remainder of said
    section 241 comprises sections 171 and 173 of this title.
       The phrase "justice or judge of the United States" was substituted for "justices of the Supreme
    Court, the circuit judges, and the district judges" appearing in said section 372, in order to extend
    the provisions of this section to judges of the Court of Claims, Customs Court, and Court of
    Customs and Patent Appeals and to all judges of any court which may be created by enactment
    of Congress. See definition in section 451 of this title.
      The Attorney General has ruled that the expression "any judge of any court of the United
    States" applied to the Chief Justice and all judges of the Court of Claims. (21 Op. Atty. Gen. 449.)

                                                  EDITORIAL NOTES

                                            AMENDMENTS
      1990-Pub. L. 101–650 substituted "under the Constitution" for "according to the best of my
    abilities and understanding, agreeably to the Constitution".


                                 STATUTORY NOTES AND RELATED SUBSIDIARIES

                               EFFECTIVE DATE OF 1990 AMENDMENT
       Amendment by Pub. L. 101–650 effective 90 days after Dec. 1, 1990, see section 407 of Pub.
    L. 101–650, set out as a note under section 332 of this title.
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 16 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 17 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 18 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 19 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 20 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 21 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 22 of 26
          Case 1:23-cr-00016-JEB           Document 69         Filed 01/30/25      Page 23 of 26




               New Initiates Into The Order for 1985




       “Each annual class of new initiates forms a club consisting of 15 members. Initiates are called
Knights in the first year and thereafter Patriarchs. The annual announcement of new initiates has not
varied over the years.”

        “Each club has a number. This is located in the top right hand corner of the announcement
sheet (i.e., D. 115 for 1917 and D. 183 for 1985). Further, one member is designated a “club
chairman” or agent, with the function to act as liaison with the Secretary of the Russell Trust
Association in New York.”

[Sutton, Antony C.. America's Secret Establishment: An Introduction to the Order of Skull & Bones. Trine Day.]
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 24 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 25 of 26
Case 1:23-cr-00016-JEB   Document 69   Filed 01/30/25   Page 26 of 26
